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                                            August 21, 2024

Court of Chancery of the State of Delaware
Leonard L. Williams Justice Center
500 North King Street
Wilmington, DE 19801


       RE:        Bold St. Peters, L.P. v. Bold on Boulevard LLC et al.
                  USDC/DE C.A. No. 24-cv-821-JLH
                  DE Chancery Ct, 2024-0653-MTZ

Dear Register:

       Pursuant to the Order dated 8/21/2024 signed by the Honorable Jennifer L. Hall, remanding
the above captioned case to your Court, enclosed please find the following items:


       (X)        Certified copy of the Order of Remand
       (X)        Certified copy of the USDC Docket Sheet


     Please note that the electronic case filings can be accessed through PACER by selecting the
CM/ECF link on our web site at www.ded.uscourts.gov.

       Please acknowledge receipt of the above items on the attached copy of this letter.

                                        Sincerely,

                                        Randall C. Lohan, Clerk of Court


                                          By:    /s/ C. Garfinkel
                                                 Deputy Clerk


I hereby acknowledge receipt of the above listed items on                         .



Signature
